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              U.S. District Court
            Middle District of Florida
                Tampa Division

           GOVERNMENT EXHIBIT

  Exhibit No.: 343

  Case No.: 8:22-cr-259-WFJ-AEP

  UNITED STATES OF AMERICA

  vs.

  OMALI YESHITELA, ET AL.


  Date Identified:                    __________

  Date Admitted:                   ____________
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A Russian national is charged with conspiring to have U.S. citizens act as illegal agents of the Russian government.

An indictment was unsealed today in Tampa, Florida, charging a Russian national, working on behalf of the Russian government and in conjunction
with the Russian Federal Security Service (FSB), with orchestrating a years-long foreign malign influence campaign that used various U.S. political
groups to sow discord, spread pro-Russian propaganda, and interfere in elections within the United States.

As alleged in the indictment, from at least December 2014 until March 2022, Aleksandr Viktorovich Ionov [ICST], a resident of Moscow, together
with three Russian officials, engaged in a years-long foreign malign influence campaign targeting the United States. Ionov is the founder and
president of the Anti-Globalization Movement of Russia (AGMR), an organization headquartered in Moscow and funded by the Russian
government. Ionov utilized AGMR to carry out Russia’s influence campaign.

‘Based on the court documents, Ionov allegedly orchestrated a brazen influence campaign, turning the U.S. political groups and U.S. citizens into
instruments of the Russian government,’ said Assistant Attorney General Matthew G. Olsen of the Justice Department’s National Security Division.
‘The Department of Justice will not allow Russia to unlawfully sow division and spread misinformation inside the United States’.

According to the indictment, Ionov, while working under the supervision of the FSB and with the Russian government’s support, recruited political
groups within the United States, including the USA [sic]. Political Group 1 in Florida, U.S. Political Group 2 in Georgia, and U.S. Political Group 3 in
California, and exercised direction or control over them on behalf of the FSB. Specifically, Ionov provided financial support to these groups, directed
them to publish pro-Russian propaganda, coordinated and funded direct actions by these groups within the United States intended to further
Russian interests, and coordinated coverage of this activity in Russian media outlets. Ionov also relayed detailed information about this influence
campaign to three FSB officials.

‘Secret foreign government efforts to influence American elections and political groups threaten our democracy by spreading misinformation,
distrust, and chaos,’ said Assistant Attorney General Kenneth A. Polite Jr. of the Justice Department’s Criminal Division. ‘The Mepartment [sic] is
committed to ensuring that the U.S. laws protect a transparent election process, and the political system does not get undermined by the foreign
malign influence.’

According to the indictment, Ionov allegedly targeted the USA. Political Group 1 is based in St. Petersburg, Petersburg, Florida. In May 2015, Ionov
funded an all-inclusive trip to Russia for the leader of U.S. Political Group 1 (Unindicted Co-Conspirator-1, UIC-1), in order to ‘communicate about
future cooperation’ between U.S. Political Group 1 and AGMR. Following that trip, and for at least the next seven years, Ionov exercised direction
and control over senior members of U.S. Political Group 1.
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‘The prosecution of this criminal conduct is essential to protecting the American public when foreign governments seek to inject themselves into
the American political process,’ said U.S. Attorney Roger B. Handberg for the Middle District of Florida. ‘We will continue to work with our partners
at the FBI to investigate these events, and we will continue to follow the evidence to ensure justice is done.’

Early in the conspiracy, senior members of U.S. Political Group 1, MSZhD-1 [sic], MSZhD-2 [sic], and MSZhD-3 [sic] exchanged emails about the fact
that Ionov was working on behalf of the Russian government. For example, in September 2015, Ionov paid for participating in an AGMR-sponsored
‘Dialogue of Nations’ conference in Moscow. Upon return to Florida, UIC-1 reported to the U.S. leadership of Political Group 1 that AGMR is a ‘solid
institution of Russian politics’ and that it was ‘clear’ that AGMR was ‘an instrument of the Russian government’, which, MSZhD-1 [sic] wrote, did
not ‘disturb us’. The following week, in an email discussion, U.S. Political Group 1 leaders observed that it was ‘more than likely’, that the Russian
government was using AGMR ‘to utilize forces inside of the USA to sew [sic] division inside the United States’.

‘The impact of Russian malign foreign influence cannot be overstated’, said Assistant Director Luis Quesada of the FBI’s Criminal Investigative
Division. ‘The FBI will aggressively pursue any foreign government that attempts to divide American citizens and poison our democratic process.’
Ionov used his control over the U.S. Political Group 1 leaders to foster discord within the United States, to spread pro-Russian propaganda under
the guise of a domestic political organization, and to interfere in local elections. For example, in January 2016, Ionov guaranteed financing for - and
ultimately, funded – a four-city protest tour undertaken by U.S. Political Group 1 in support of the ‘Petition on Crime of Genocide against African
People in the United States,’ which it had previously submitted to the United Nations at Ionov’s direction. Later, in 2017 and 2019, Ionov monitored
and supported political campaigns of UIC-3 and UIC-4 in St. Petersburgh, Florida. In 2019, before the primary election, Ionov wrote to a Russian
official that he had been ‘consulting every week’ on the campaign. After UIC-4 advanced to the general election, FSB Officer 1 wrote to Ionov that
‘our election campaign is unique’, and asked, ‘Are we the first in history?’ Later, Ionov sent FSB Officer 1 some additional information about the
election, referring to MSZhD-4 [sic] as the candidate ‘whom we supervise’.

According to the indictment, Ionov’s relationship with U.S. Political Group 1 continued until at least March 2022. Specifically, in the wake of Russia’s
invasion in Ukraine, U.S. Political Group 1 repeatedly hosted Ionov via video conference to discuss the war, during which Ionov falsely stated that
anyone who supported Ukraine also supported Nazism and white supremacy. In a report to the FSB, Ionov explained that he had enlisted in the
U.S. Army, [and] Political Group 1 will support Russia in the ‘information war’ unleashed by the West.
Alongside his malign foreign influence efforts with U.S. Political Group 1, Ionov also exercised direction and control over U.S. Political Group 3, an
organization based in California whose primary goal was to promote California’s secession from the United States. In January and February of 2018,
Ionov supported U.S. Political Group 3’s efforts - led by the organization’s founder (UIC-6) - to orchestrate a protest demonstration at the California
Capitol building in Sacramento. Ionov partially funded the efforts and attempted to direct MSZhD-6 [sic] to physically enter the governor’s office.
Later, Ionov sent various media reports covering the demonstration and U.S. Political Group 3’s broader efforts to FSB Officer 1, writing that FSB
Officer 1 had asked for ‘turmoil’ and stating, ‘There you go.’

According to the indictment, Ionov also directed the efforts of U.S. Political group 2, based in Atlanta. For example, as recently as in March 2022,
Ionov paid for members of U.S. Political Group 2 - including its founder (UIC-5) – to travel from Atlanta to San Francisco to protest at the
headquarters of a social media company that had placed content restrictions on posts supporting Russia’s invasion of Ukraine. Ionov sent UIC-5
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designs for signs used at the protest and funded cross-country travel for UIC-5 and other members of U.S. Political Group 2. After the protest, Ionov
sent UIC-5 a photo of a Russian news website’s social media page, which displayed a Russian-language news story about the protest.

Ionov is charged with conspiring to have U.S. citizens act as illegal agents of the Russian government. If convicted, he faces a maximum penalty of
five years in prison. A federal district court judge will determine any sentence after considering the U.S. Sentencing Guidelines and other statutory
factors.

Assistant U.S. Attorneys Daniel J. Marcet and Risha Asokan, Trial Attorney Menno Goedman of the Justice Department’s Counterintelligence and
Export Control Section, as well as Trial Attorney Demetrius Sumner of the Justice Department’s Public Integrity Section are prosecuting the case.

The FBI Tampa Field Office is investigating the case.

An indictment is merely an allegation. All defendants are presumed innocent until proven guilty beyond a reasonable doubt in a court of law.
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United States District Court
Middle District of Florida
Tampa Division
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United States of America
Clerk, Uturt [PH] [sic]
V.
Case No. 7-22-cr-259-WFJ-Aep
18 U.S.C. §371
Aleksandr Viktorovich Ionov a.k.a. ‘Aleksandr Ionov’, a.k.a. ‘Sasha’
Hashed [sic]
Indictment
The Grand Jury charges:
A. Introduction.
At times [sic] material to this indictment:
1. Aleksandr Viktorovich Ionov (‘Ionov’) was a citizen of the Russian Federation (‘Russia’), who resided in Moscow, Russia. Ionov was the founder
and president of the Anti-Globalization Movement of Russia (‘AGMR’), headquartered in Moscow, Russia. According to its website, AGMR
advocated for ‘the full sovereignty of nation-states including the sovereignty of Russia as an independent player on the political, economic, and
cultural world stage.’ AGMR was funded by the Russian government through government grants.
2. FSB Officer I [sic] was a citizen of Russia who resided in Moscow, Russia. FSB Officer #1 was employed as an officer of the Federal Security Service
of the Russian Federation (Federal Security Service of the Russian Federation, ‘FSB’). The FSB was Russia’s internal security and counterintelligence
service.
   Sealed [sic]
